          Case 1:23-bk-10027-VK                   Doc 23 Filed 04/04/23 Entered 04/04/23 15:05:05                                       Desc
                                                   Main Document    Page 1 of 8

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
E. MARTIN ESTRADA
United States Attorney
DAVID M. HARRIS
Assistant United States Attorney
Chief, Civil Division
JOANNE S. OSINOFF
Assistant United States Attorney
Chief, General Civil Section
ELAN S. LEVEY (State Bar No. 174843)
Assistant United States Attorney
       Federal Building, Suite 7516
       300 North Los Angeles Street
       Los Angeles, California 90012
       Telephone: (213) 894-3997
       Facsimile: (213) 894-7819
       E-mail: elan.levey@usdoj.gov



      Debtor(s) appearing without an attorney
      Attorney for: U.S. Small Business Administration

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION
                                                                            DIVISION

 In re:                                                                      CASE NO.: 1:23-bk-10027-VK
                                                                             CHAPTER: 7
     ELEVEN23 MARKETING, LLC,


                                                                                        NOTICE OF OPPORTUNITY TO
                                                                                      REQUEST A HEARING ON MOTION

                                                                                                      [LBR 9013-1(o)]


                                                                                          [No hearing unless requested in writing]
                                                              Debtor(s).

TO THE U.S. TRUSTEE AND ALL PARTIES ENTITLED TO NOTICE, PLEASE TAKE NOTICE THAT:

                 U.S. Small Business Administration
1. Movant(s) ____________________________________________________________________________________,
                                                    Stipulation Re Disposition of U.S. Small Business Administration
   filed a motion or application (Motion) entitled _________________________________________________________
      Collateral
   _____________________________________________________________________________________________.

2. Movant(s) is requesting that the court grant the Motion without a hearing as provided for in LBR 9013-1(o), unless a
   party in interest timely files and serves a written opposition to the Motion and requests a hearing.

3. The Motion is based upon the legal and factual grounds set forth in the Motion. (Check appropriate box below):
          The full Motion is attached to this notice; or
          The full Motion was filed with the court as docket entry # _____, and a detailed description of the relief sought is
          attached to this notice.

4. DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to
   LBR 9013-1(o), any party who opposes the Motion may request a hearing on the Motion. The deadline to file and serve
   a written opposition and request for a hearing is 14 days after the date of service of this notice, plus 3 additional days if
   you were served by mail or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).


          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                           Page 1               F 9013-1.2.OPPORTUNITY.HEARING.NOTICE
        Case 1:23-bk-10027-VK                    Doc 23 Filed 04/04/23 Entered 04/04/23 15:05:05                                       Desc
                                                  Main Document    Page 2 of 8

    a. If you timely file and serve a written opposition and request for a hearing, movant will file and serve a notice of
       hearing at least 14 days in advance of the hearing. [LBR 9013-1(o)(4)]

    b. If you fail to comply with this deadline:

        (1) Movant will file a declaration to indicate: (1) the Motion was properly served, (2) the response period elapsed,
            and (3) no party filed and served a written opposition and request for a hearing within 14 days after the date
            of service of the notice [LBR 9013-1(o)(3)];
        (2) Movant will lodge an order that the court may use to grant the Motion; and
        (3) The court may treat your failure as a waiver of your right to oppose the Motion and may grant the Motion
            without further hearing and notice. [LBR 9013-1(h)]




                                                                      Respectfully submitted,


        3/16/2023
Date:                                                                    /s/ Elan S. Levey                                               .
                                                                      Signature of Movant or attorney for Movant

                                                                          Elan S. Levey                                                  .
                                                                      Printed name of Movant or attorney for Movant




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December 2016                                                          Page 2               F 9013-1.2.OPPORTUNITY.HEARING.NOTICE
     Case 1:23-bk-10027-VK         Doc 23 Filed 04/04/23 Entered 04/04/23 15:05:05               Desc
                                    Main Document    Page 3 of 8



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            E-mail: elan.levey@usdoj.gov
 9
     Attorneys for U.S. Small Business Administration
10
                                 UNITED STATES BANKRUPTCY COURT
11
             CENTRAL DISTRICT OF CALIFORNIA – SAN FERNANDO VALLEY DIVISION
12
     In re                                                   Case No. 1:23-bk-10027-VK
13
     ELEVEN23 MARKETING, LLC,                                Chapter 7
14
                     Debtor.                                 STIPULATION RE DISPOSITION OF U.S.
15                                                           SMALL BUSINESS ADMINISTRATION
                                                             COLLATERAL
16
                                                             [No Hearing Requested]
17

18

19           IT IS HEREBY STIPULATED AND AGREED between the UNITED STATES OF
20   AMERICA, on behalf of its agency, the U.S. SMALL BUSINESS ADMINISTRATION (“SBA”),
21   through its counsel of record, and NANCY J. ZAMORA, the duly appointed, qualified and acting
22   Chapter 7 trustee (“Trustee,” collectively with the SBA, the “Parties”) of the bankruptcy estate
23   (“Estate”) of Eleven23 Marketing, LLC, the Chapter 7 debtor (“Debtor”) in the above-captioned case
24   (“Case”), as follows:
25                                                 RECITALS
26           A.     The Debtor filed a voluntary Chapter 7 bankruptcy petition on January 11, 2023
27   commencing the Case.
28   ///
                                                         1
     Case 1:23-bk-10027-VK          Doc 23 Filed 04/04/23 Entered 04/04/23 15:05:05                  Desc
                                     Main Document    Page 4 of 8



 1          B.      Pre-petition, on or about May 5, 2020, SBA issued to the Debtor a secured Economic

 2   Injury Disaster Loan in the amount of $150,000.00 (“SBA Loan”). The SBA Loan is evidenced by a

 3   promissory note which, among other things, empowers SBA to take possession of any collateral that

 4   secures the SBA Loan, or to sell, lease, or otherwise dispose of any collateral that secures the Loan at

 5   public or private sale, with or without advertisement. See Proof of Claim 1 filed by the SBA on February

 6   17, 2023 in the amount of $527,107.87 (“SBA Proof of Claim”).

 7          C.      The SBA Loan is also evidenced by a Security Agreement executed on May 5, 2020 and

 8   a UCC-1 Financing Statement validly filed on May 18, 2020 with the California Secretary of State as

 9   Filing Number 207779082325 (“SBA Lien”). The SBA Loan is secured by all of the Debtor’s tangible
10   and intangible personal property, including, but not limited to: (a) inventory, (b) equipment, (c)
11   instruments, including promissory notes (d) chattel paper, including tangible chattel paper and
12   electronic chattel paper, (e) documents, (f) letter of credit rights, (g) accounts, including health-care
13   insurance receivables and credit card receivables, (h) deposit accounts, (i) commercial tort claims, (j)
14   general intangibles, including payment intangibles and software, and (k) as-extracted collateral as such
15   terms may from time to time be defined in the Uniform Commercial Code (collectively, the “Personal
16   Property Collateral”). The security interest includes all accessions, attachments, accessories, parts,
17   supplies and replacements for the Personal Property Collateral, all products, proceeds and collections
18   thereof and all records and data relating thereto. See SBA Proof of Claim.
19          D.      On or about January 26, 2022, the SBA Loan was modified and increased to the
20   cumulative amount of $500,000.00. The Debtor is in default under the terms of the note evidencing the
21   Loan. See SBA Proof of Claim.
22          E.      In the course of the Case, the Debtor disclosed, scheduled and possessed various items of
23   personal property, including equipment and office furniture (“Personal Property Collateral”).
24          F.      The Trustee obtained an independent valuation of the Personal Property Collateral from
25   R.L. Spear Co., Inc, auctioneer specializing in hard asset disposition (“Auctioneer”), which provided a
26   total forced liquidation value of approximately $3,250.00 and an as-is, where-is value of $1,300.00.
27          G.      Based upon the Auctioneer’s valuation of the Personal Property Collateral, which is far
28   less than the unpaid balance of the SBA Loan secured by the SBA Lien, the Trustee and the SBA have

                                                           2
     Case 1:23-bk-10027-VK          Doc 23 Filed 04/04/23 Entered 04/04/23 15:05:05                  Desc
                                     Main Document    Page 5 of 8



 1   agreed to allow the Trustee to dispose of the Estate’s interest, if any, in the Personal Property Collateral

 2   to the SBA, pursuant to 11 U.S.C. § 725 (“[a]fter the commencement of a case under this chapter, but

 3   before final distribution of property of the estate under section 726 of this title, the trustee, after notice

 4   and a hearing, shall dispose of any property in which an entity other than the estate has an interest, such

 5   as a lien, and that has not been disposed of under another section of this title”).

 6          H.      Therefore, the Parties stipulate that the Personal Property Collateral, which the Trustee

 7   has not yet made any disposition of, shall no longer constitute assets of the Estate.

 8                                                    STIPULATION

 9          1.      Recitals. The Recitals set forth above are incorporated herein by this reference and shall
10   be deemed a material part of the Stipulation.

11          2.      Disposition of Collateral. Subject to the terms and conditions of this Stipulation, the

12   Trustee is authorized to dispose of the Personal Property Collateral for the benefit of the SBA.

13   Accordingly, SBA shall assume legal title of the Personal Property Collateral and the Personal Property

14   Collateral shall no longer constitute assets of the Estate. The SBA shall dispose of the Personal

15   Property Collateral, wherever located, within 30 days of the entry of an order approving this

16   Stipulation.

17          3.      Modified SBA Proof of Claim. The SBA Proof of Claim shall be deemed amended and

18   allowed in the amount of $525,807.87 (calculated as $527,107.87 - $1,300.00) as a general unsecured

19   claim, without the need to file an amended SBA Proof of Claim.

20          4.      Modification. This Stipulation may be modified only in a writing signed by the party to

21   be charged with such modification or pursuant to order of the Bankruptcy Court.

22          5.      Assignability, Binding Effect and Survival. This Stipulation shall inure to the benefit of

23   and shall be binding upon the Parties, their successors and assigns. Trustee may not assign this

24   Stipulation without SBA’s consent. To the extent that the SBA has the right to assign its rights to a

25   third party under the SBA Loan and related loan documents, SBA may assign this Stipulation to any

26   assignee to which it assigns its rights under the SBA Loan and related Security Agreement and UCC-1

27   Financing Statement.

28

                                                           3
     Case 1:23-bk-10027-VK           Doc 23 Filed 04/04/23 Entered 04/04/23 15:05:05                 Desc
                                      Main Document    Page 6 of 8



 1              6.    Entire Agreement. This Stipulation contains all of the agreements between the Parties,

 2   and is intended to be and is the final and sole agreement between the Parties. The Parties agree that any

 3   other prior or contemporaneous representations or understandings not explicitly contained in this

 4   written agreement, whether written or oral, are of no further legal or equitable force or effect. Any

 5   subsequent modifications to this Stipulation must be in writing, and must be signed and executed by the

 6   Parties.

 7              7.    Authority. The Parties to this Stipulation represent and warrant that each has reviewed

 8   and understands its terms and contents. The Parties to this Stipulation further represent and warrant that

 9   each has the power to execute, deliver, and perform this Stipulation; that each has taken all necessary
10   action to authorize the execution, delivery, and performance of this Stipulation; and that this Stipulation
11   is enforceable in accordance with its terms.
12              8.    Representation by Counsel. The Parties do hereby acknowledge and agree that each has
13   been represented by, or had the opportunity to seek representation by, independent counsel of her or its

14   own choice throughout all negotiations that preceded the execution of this Stipulation. The Trustee

15   represents and acknowledges that she enters into this Stipulation freely and voluntarily. The Trustee

16   further acknowledges that she has had sufficient opportunity to consult with an attorney regarding the

17   terms and conditions of this Stipulation.

18              9.    Execution. It is contemplated that this Stipulation may be executed in several

19   counterparts with a separate signature page for each Party. All such counterparts and signature pages,

20   collectively, will be deemed to be one document.

21              10.   Amendment. This Stipulation may be amended only by writing signed by or on behalf

22   of the SBA and the Trustee.

23              11.   Retention of Jurisdiction. This Court shall retain jurisdiction to enforce the terms of this

24   Stipulation.

25   ///

26   ///

27   ///

28   ///

                                                           4
Case 1:23-bk-10027-VK   Doc 23 Filed 04/04/23 Entered 04/04/23 15:05:05   Desc
                         Main Document    Page 7 of 8
        Case 1:23-bk-10027-VK                      Doc 23 Filed 04/04/23 Entered 04/04/23 15:05:05                                     Desc
                                                    Main Document    Page 8 of 8



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
United States Attorney’s Office, 300 N. Los Angeles Street, Room 7516, Los Angeles, California 90012
A true and correct copy of the foregoing document entitled NOTICE OF OPPURTUNITY TO REQUEST A HEARING ON
MOTION will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On April 4,
2023 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    •   David B Golubchik          dbg@lnbyg.com, stephanie@lnbyb.com
    •   Arvind Nath Rawal          arawal@aisinfo.com
    •   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
    •   Nancy J Zamora (TR)        zamora3@aol.com, nzamora@ecf.axosfs.com
    •   Elan S Levey               elan.levey@usdoj.gov, julie.morales@usdoj.gov


                                                                            Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On April 4, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

        SLBiggs
        10960 Wilshire Boulevard
        7th Floor
        Los Angeles, CA 90024

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on April 4, 2023, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
                                                                            Service information continued on attached page



I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




 April 4, 2023          JULIE MORALES
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
